Case 3:05-cr-00108-BTM      Document 134     Filed 06/18/07   PageID.446   Page 1 of 1



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   6                          UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   7
       UNITED STATES OF AMERICA         )            No. 05-CR-108-1
   8                                   )
                  Plaintiff,            )             ORDER
   9                                    )
                  v.                    )
  10                                    )
       ENRIQUE JAVIER DOMINGUEZ,        )
  11                                    )
                          Defendant.    )
  12   ________________________________)
  13
             IT IS ORDERED THAT the sentencing hearing date scheduled for May 29, 2007 at
  14
       9:00 a.m. , is now vacated.
  15
             IT IS ORDERED THAT defendant shall appear on August 31, 2007 at 8:30 a.m. for
  16
       sentencing hearing for this matter.
  17
       DATED: June 18, 2007
  18
  19
                                                     Honorable Barry Ted Moskowitz
  20                                                 United States District Judge
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